            Case 1:18-cv-01478-JDB Document 50 Filed 04/05/22 Page 1 of 4




                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

 ROBERT MURPHY,
                   Plaintiff,

                                                           1:18-cv-1478 (JDB)
             v.

 THE DISTRICT OF COLUMBIA,

                   Defendant.


    SUPPLEMENTAL BRIEF IN SUPPORT OF THE DISTRICT OF COLUMBIA’S
                 MOTION FOR SUMMARY JUDGMENT

                                         INTRODUCTION

          On March 2, 2022, the Court set a briefing schedule for the parties to address “whether

Murphy’s ADA claim should be dismissed for failure to request a reasonable accommodation.”

Mem. Op. at 30 [48]. Plaintiff filed a supplemental brief arguing that he not only made a request

for an accommodation but that the accommodation was granted, at least on a temporary basis,

when his duty assignment was changed to the transportation unit under Department of

Corrections (DOC) Captain Orlando Harper. Pl.’s Supp. Summ. J. Br. [49]. But Plaintiff’s

request for 640 hours of leave does not qualify as a request for an accommodation under the

ADA, and, based on the undisputed record evidence, no reasonable juror could believe Plaintiff’s

self-serving statement that he worked with Captain Harper in the transportation unit in 2015.

Consequently, the Court should grant summary judgment to the District on Plaintiff’s ADA

claims.
          Case 1:18-cv-01478-JDB Document 50 Filed 04/05/22 Page 2 of 4




                                          ARGUMENT

Plaintiff’s Request for FMLA Leave Does Not Qualify as a Request for an Accommodation
Under the ADA.

       Plaintiff’s request for 640 hours of leave does not implicate the ADA. As the Court

noted, a request for medical leave does not automatically constitute a request for a reasonable

accommodation under the ADA. Mar. 2, 2022 Mem. Op. at 9-10 (citing Waggel v. George

Washington University, 957 F.3d 1364, 1373 (D.C. Cir. 2020)). Indeed, a request for “medical

leave is by nature arguing that he cannot perform the functions of the job” while a request for an

accommodation under the ADA requires proof that the employee can perform the essential

functions of the job. Acker v Gen. Motors, L.L.C., 853 F.3d 784, 791-92 (5th Cir. 2017); accord

Scarborough v. Natsios, 190 F. Supp. 2d 5, 25-26 (D.D.C. 2002) (“[R]equests for indefinite

medical leave are also unreasonable as a matter of law,”) (collecting cases). And “an underlying

assumption of any reasonable accommodation claim is that the plaintiff-employee has requested

an accommodation which the defendant-employer has denied.” Flemmings v. Howard Univ.,

198 F.3d 857, 861 (D.C. Cir. 1999); accord Lee v. District of Columbia, 920 F. Supp. 2d 127,

136 (D.D.C. 2013) (citing Woodruff v. LaHood, 777 F.Supp.2d 33, 40 (D.D.C. 2011), for the

proposition that the burden lies with the employee to request any needed accommodation).

       Here, Plaintiff explained during his deposition that he was not qualified to perform the

essential functions of his position; indeed, the reason he sought medical leave was to collect a

paycheck until he could qualify for disability benefits. Ex. 2, Murphy Dep. 20:17-22 (“I couldn’t

do the job anymore.”).1 Rather than seeking an accommodation to enable him to perform the


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        This statement alone precludes a finding that Plaintiff was a qualified person with a
disability within the meaning of the ADA, one of the essential elements of his claim. See
McAllister v. Innovation Ventures, LLC., 983 F.3d 963, 968 (7th Cir. 2020) (holding that the
termination of an employee who could not perform the essential functions of the position did not
violate the ADA).
                                                 2
          Case 1:18-cv-01478-JDB Document 50 Filed 04/05/22 Page 3 of 4




essential functions of his position, Plaintiff was seeking a leave benefit that would have

precluded him from working. Consequently, Plaintiff’s request for 640 hours of leave did not

implicate the ADA.

       In support of his supplemental brief, Plaintiff provides a declaration asserting that he

actually requested an accommodation in 2015 and that the accommodation was granted. Pl.’s

Mar. 22, 2022 Decl. ¶ 5 [49-1]. But based on the record evidence, this statement cannot be true.

Specifically, Plaintiff posits that he worked under Captain Orlando Harper in “Transport” in

“[l]ate April or May 2015.” Pl.’s Mar. 22, 2022 Decl ¶ 5. Plaintiff further alleges that while

working with Captain Harper, he suffered a stroke, and Captain Harper “called an ambulance.”

Id. But Captain Harper stopped working for DOC on August 17, 2012. Ex. 1, Notification of

Personnel Action for Orlando Harper; see also Allegheny County Warden’s Biography,

https://www.alleghenycounty.us/jail/staff/warden.aspx (last visited Mar. 31, 2022) (indicating

that Harper has been the Warden of the Allegheny County Jail since October 15, 2012). On this

record, no reasonable juror could conclude that Plaintiff worked with Captain Harper in the

transportation unit in 2015, three years after Harper left his employment with DOC.

Accordingly, “the well-accepted rule that courts may ‘lawfully put aside testimony that is so

undermined as to be incredible’” applies here. Chenari v. George Washington Univ., 847 F.3d

740, 747 (D.C. Cir. 2017) (quoting Robinson v. Pezzat, 818 F.3d 1, 10 (D.C. Cir. 2016)). And

Plaintiff points to no other admissible evidence that he requested an accommodation besides his

last-minute, self-serving declaration. The remainder of Plaintiff’s statements in his March 22,

2022 declaration merely posit that he sought FMLA leave, which as explained above, does not

implicate the ADA. “[T]here must be evidence on which the jury could reasonably find for the




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         Case 1:18-cv-01478-JDB Document 50 Filed 04/05/22 Page 4 of 4




plaintiff” for him to survive summary judgment, Anderson v. Liberty Lobby, Inc., 477 U.S. 242,

252 (1986), and none exists here.

       Consequently, the Court should find that Plaintiff has not established a genuine disputed

fact regarding his ADA claim and grant the District summary judgment on that claim.

                                        CONCLUSION

       For these reasons, the Court should grant summary judgment in the District’s favor on

Plaintiff’s ADA claims.

Date: April 5, 2022                         Respectfully submitted,

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